                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19          PageID.45   Page 1 of 27



                                                                                       IN THE UNITED STATES DISTRICT COURT
                                                                                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                                                                                SOUTHERN DIVISION

                                                                     INTERNATIONAL IP HOLDINGS,
                                                                     LLC, a Michigan limited liability
                                                                     company, and INNOVATION
                                                                     VENTURES, LLC, a Michigan limited
                                                                     liability company,
                                                                                                                  Case No. 2:19-CV-11716-DPH-MKM
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                                      Plaintiffs,
                                                                                                                  Hon. Denise Page Hood
                                                                     v.
                                                                                                                  MJ Mona K. Majzoub
                                                                     VITAMIN ENERGY, LLC, a
                                                                     Delaware limited liability company,

                                                                                     Defendant.

                                                                     BROOKS KUSHMAN P.C.                          BUTZEL LONG PC
                                                                     Marc Lorelli (P63156)                        George Schooff (P45596)
                                                                     Alan J. Gocha (P80972)                       150 West Jefferson, Suite 100
                                                                     1000 Town Center, 22nd Floor                 Detroit, Michigan 48226
                                                                     Southfield, Michigan 48075                   schooff@butzel.com
                                                                     mlorelli@brookskushman.com                   Telephone: (313) 225-7000
                                                                     agocha@brookskushman.com                     Attorney for Defendant
                                                                     Telephone: (248) 358-4400
                                                                     Attorneys for Plaintiffs

                                                                                           DEFENDANT VITAMIN ENERGY, LLC’S
                                                                                                ANSWER TO COMPLAINT

                                                                             NOW COMES Defendant, VITAMIN ENERGY, LLC, by and through its

                                                                     attorneys Butzel Long, P.C., and in answer to Plaintiffs International IP Holdings,

                                                                     LLC and Innovation Ventures, LLC’s complaint states as follows:




                                                                     IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19          PageID.46    Page 2 of 27



                                                                                                              I.   PARTIES

                                                                     1.      Plaintiff International IP Holdings, LLC ("IIPH") is a Michigan limited
                                                                             liability company located in Bloomfield Hills, Michigan. IIPH is the
                                                                             owner of the intellectual property asserted against Defendant in this
                                                                             action.

                                                                     ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                     to form a belief as to the truth or accuracy of the allegations of this Paragraph,
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                     and therefore denies them.

                                                                     2.      Plaintiff Innovation Ventures, LLC (“Innovation Ventures”) (IIPH and
                                                                             Innovation Ventures collectively “Plaintiffs”) is a Michigan limited
                                                                             liability company with its principal place of business in Farmington Hills,
                                                                             Michigan. Innovation Ventures is the exclusive licensee of the
                                                                             intellectual property rights asserted against Defendant in this action.

                                                                     ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                     to form a belief as to the truth or accuracy of the allegations of this Paragraph,

                                                                     and therefore denies them.

                                                                     3.      Upon information and belief, Defendant Vitamin Energy, LLC (“VE”
                                                                             OR “Defendant”) is a Delaware limited liability company, having its
                                                                             principle office in New York, New York.

                                                                     ANSWER: Admitted that Vitamin Energy, LLC is a Delaware limited liability

                                                                     company. Vitamin Energy, LLC denies the remaining allegations in this

                                                                     Paragraph.

                                                                                                  II.     JURISDICTION AND VENUE

                                                                     4.      This Complaint includes the following claims under federal law: (1)
                                                                             trademark infringement under 15 U.S.C. § 1114, (2) false and
                                                                             misleading descriptions and designations of affiliation, connection,

                                                                                                                   2
                                                                     IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19         PageID.47    Page 3 of 27



                                                                             association, origin, sponsorship, and approval under 15 U.S.C. §
                                                                             1125(a)(1)(A); (3) false advertising under § 1125(a)(1)(B); (4) common
                                                                             law trademark infringement, (5) indirect trademark infringement; and (6)
                                                                             dilution under 15 U.S.C. § 1125(c).

                                                                     ANSWER: This Paragraph contains legal conclusions and allegations to which

                                                                     no answer is required. To the extent an answer is required, Vitamin Energy,

                                                                     LLC admits Plaintiffs’ complaint alleges the claims Plaintiffs listed in this
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                     Paragraph.

                                                                     5.      This Complaint includes the following claim under Michigan law: unfair
                                                                             competition under MCL § 445.903.

                                                                     ANSWER: This Paragraph contains legal conclusions and allegations to which

                                                                     no answer is required. To the extent an answer is required, Vitamin Energy,

                                                                     LLC admits Plaintiffs’ complaint alleges a claim Plaintiffs listed in this

                                                                     Paragraph.

                                                                     6.      This Court has federal question subject matter jurisdiction over the federal
                                                                             claims pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1338, and 15 U.S.C. §
                                                                             1121.

                                                                     ANSWER: This Paragraph contains legal conclusions and allegations to which

                                                                     no answer is required. To the extent an answer is required, Vitamin Energy,

                                                                     LLC does not contest subject matter jurisdiction over the federal law claims

                                                                     Plaintiffs have alleged under 28 U.S.C. § 1331 and 15 U.S.C. § 1121. Vitamin

                                                                     Energy, LLC denies the remaining allegations contained in this Paragraph.

                                                                     7.      This Court has supplementary subject matter jurisdiction over the state
                                                                             law claims pursuant to 28 U.S.C. § 1367, as the claims are so related to

                                                                                                                  3
                                                                     IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19         PageID.48   Page 4 of 27



                                                                             the federal claims that they form part of the same case and controversy
                                                                             under Article III of the United States Constitution.

                                                                     ANSWER: This Paragraph contains legal conclusions and allegations to which

                                                                     no answer is required. To the extent an answer is required, Vitamin Energy,

                                                                     LLC denies there is subject matter jurisdiction over the state law claims

                                                                     Plaintiffs have alleged.
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                     8.      This Court has specific personal jurisdiction over Defendant, because,
                                                                             as described more thoroughly herein, it purposefully availed itself to,
                                                                             and enjoys the benefits of, the laws of Michigan, it had sufficient
                                                                             minimum contacts with the State of Michigan and this District, this
                                                                             action arises out of these contacts, and exercising jurisdiction over
                                                                             Defendant would be reasonable and comport with the requirements of
                                                                             due process

                                                                     ANSWER: Admitted.

                                                                     9.      Exercise of jurisdiction over Defendant is proper under MCL § 600.705 as
                                                                             it: (a) transacts business within Michigan, (b) has done and caused an act
                                                                             to be done and consequence to occur in Michigan in an action for tort; and
                                                                             (c) owns, uses, and possesses personal property within Michigan.

                                                                     ANSWER: Admitted.

                                                                     10.     Venue is proper under 28 U.S.C. § 1391.

                                                                     ANSWER: Admitted.

                                                                                             III.     FACTS COMMON TO ALL COUNTS

                                                                     A.      Asserted Intellectual Property

                                                                     11.     Plaintiffs own and possess full legal rights to enforce a family of
                                                                             trademarks (hereinafter “5-HOUR ENERGY Trademarks”) that are used
                                                                             in connection with the marketing and sale of 5-HOUR ENERGY®
                                                                             branded products. Many of the 5-HOUR ENERGY Trademarks have

                                                                                                                  4
                                                                     IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19          PageID.49    Page 5 of 27



                                                                             received federal registration, including, but not limited to, the following
                                                                             registrations (copies of the Certificates of Registration are attached hereto
                                                                             as Exhibits A-F):

                                                                     ANSWER: This Paragraph contains legal conclusions and allegations to

                                                                     which no answer is required. In addition, Vitamin Energy, LLC is without

                                                                     sufficient information with which to form a belief as to the truth or accuracy
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                     of the allegations of this Paragraph, and therefore denies them.

                                                                     12.     The foregoing trademark registrations are all current, in full force and
                                                                             effect, and related to trademarks that are inherently distinctive or have
                                                                             become distinctive through acquisition of secondary meaning.
                                                                             Additionally, the foregoing trademarks are famous marks as
                                                                             contemplated by 15 U.S.C. § 1125(c).

                                                                     ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                     to form a belief as to the truth or accuracy of the allegations of this Paragraph

                                                                     relating to whether Plaintiffs’ alleged trademark registrations are “all current,

                                                                     and in full force and effect,” and therefore denies them. Vitamin Energy, LLC

                                                                     denies the remaining allegations in this Paragraph, including that Plaintiffs’

                                                                     self-described “trademarks … are inherently instinctive or have become

                                                                     distinctive through the acquisition of secondary meaning.” In fact, courts have

                                                                     repeatedly ruled that 5-HOUR ENERGY is “inherently weak” because of its

                                                                     descriptive nature. See, e.g., Innovation Ventures, LLC v. N.V.E., Inc., 747 F.

                                                                     Supp. 2d 853, 868 (E.D. Mich. 2010), rev’d in part on other grounds, 694 F.3d

                                                                     723 (6th Cir. 2012); see also Int’l IP Holdings, LLC v. Green Planet, Inc., No.


                                                                                                                  5
                                                                     IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19         PageID.50    Page 6 of 27



                                                                     13-cv-13988 (E.D. Mich. Mar. 30, 2016). The words “five hour energy” merely

                                                                     describe what Plaintiffs contend the product does—provide “energy” for “five

                                                                     hours.” Moreover, when Plaintiffs applied to register the words 5-HOUR

                                                                     ENERGY with the U.S. Patent and Trademark Office, the Office denied the

                                                                     application because the words are merely descriptive. Innovation Ventures, 694
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                     F.3d at 727. As such, even assuming the description five hour energy could

                                                                     serve as a mark, the mark would be inherently weak. Finally, Plaintiffs have

                                                                     admitted in other judicial proceedings that 5-HOUR ENERGY is not inherently

                                                                     distinctive, an admission that estops Plaintiffs from contesting that fact as

                                                                     established in this or any other proceeding. See, e.g., Innovation Ventures, LLC

                                                                     v. N2G Distributing, Inc., 779 F. Supp. 2d 671, 675 (E.D. Mich. 2011).

                                                                     13.     As previously explained by the United States Circuit Court for the Sixth
                                                                             Circuit in Innovation Ventures, LLC v. N.V.E., Inc., 694 F.3d 723, 730
                                                                             (6th Cir. 2012), 5-HOUR ENERGY® is a suggestive mark.

                                                                     ANSWER: Vitamin Energy, LLC denies the Sixth Circuit panel in the case

                                                                     cited in this Paragraph said—let alone held—that 5-HOUR ENERGY “is a

                                                                     suggestive mark.” In fact, the court said “[t]he ‘5-hour ENERGY’ mark could be

                                                                     characterized as merely descriptive, in the sense that it simply describes a

                                                                     product that will give someone five hours of energy.” Id. In addition, other

                                                                     courts have ruled that 5-HOUR ENERGY is “inherently weak” as a mark

                                                                     because of its descriptive nature. See, e.g., Innovation Ventures, LLC v. N.V.E.,


                                                                                                                  6
                                                                     IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19        PageID.51   Page 7 of 27



                                                                     Inc., 747 F. Supp. 2d 853, 868 (E.D. Mich. 2010), rev’d in part on other

                                                                     grounds, 694 F.3d 723 (6th Cir. 2012); see also Int’l IP Holdings, LLC v. Green

                                                                     Planet, Inc., No. 13-cv-13988 (E.D. Mich. Mar. 30, 2016). The words merely

                                                                     describe what Plaintiffs contend the product is supposed to do—provide

                                                                     “energy” for “five hours.” Moreover, when Plaintiffs applied to register the
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                     words 5-HOUR ENERGY with the U.S. Patent and Trademark Office, the

                                                                     Office denied the application because the combination of words is merely

                                                                     descriptive. Innovation Ventures, 694 F.3d at 727. As such, even assuming the

                                                                     description 5-HOUR ENERGY could serve as a mark, the mark would be

                                                                     inherently weak.

                                                                     14.     The 5-HOUR ENERGY Trademarks are incontestable and conclusively
                                                                             valid.

                                                                     ANSWER: This Paragraph contains legal conclusions and allegations to which

                                                                     no answer is required. Vitamin Energy, LLC denies the remaining allegations in

                                                                     this Paragraph. Even if a trademark owner has filed paperwork with the

                                                                     Trademark Office such that the trademark owner can allege a mark is

                                                                     “incontestable,” the mark can be challenged and the registration cancelled if,

                                                                     among other things, the trademark owner committed fraud on the Trademark

                                                                     Office.

                                                                     15.     Plaintiffs use the 5-HOUR ENERGY Trademarks in connection with
                                                                             advertising, distribution, and sale of various products including, 5-HOUR


                                                                                                                  7
                                                                     IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.52    Page 8 of 27



                                                                             ENERGY® branded dietary supplements that are commonly categorized
                                                                             as “liquid energy shots” (“5-HOUR ENERGY Products”).

                                                                     ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                     to form a belief as the truth or accuracy of the allegations of this Paragraph, and

                                                                     therefore denies them.

                                                                      16. Plaintiffs have devoted significant time, effort, and resources to create
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                          consumer recognition by developing, advertising, and promoting their 5-
                                                                          HOUR ENERGY Products.

                                                                     ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                     to form a belief as the truth or accuracy of the allegations of this Paragraph, and

                                                                     therefore denies them.

                                                                     17.     The 5-HOUR ENERGY Products are extensively and widely advertised
                                                                             through various media outlets, including network and cable television,
                                                                             radio, the internet, and traditional print. Since their introduction, the 5-
                                                                             HOUR ENERGY Products have received extensive news coverage by
                                                                             national, regional, and local print and broadcast media. Indeed, in 2009,
                                                                             Advertising Age Magazine recognized 5-HOUR ENERGY as one of
                                                                             America's Hottest Brands.

                                                                     ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                     to form a belief as the truth or accuracy of the allegations of this Paragraph, and

                                                                     therefore denies them.

                                                                     18.     As a result of Plaintiffs’ efforts, the 5-HOUR ENERGY Products have
                                                                             defined the liquid energy shot market and are known within the industry
                                                                             for being of the highest quality. As the best-known liquid energy shot on
                                                                             the market, 5-HOUR ENERGY Products are sold in over 100,000
                                                                             locations throughout the United States. Moreover, since the first sale in
                                                                             2004, billions of 5-HOUR ENERGY Products have been sold in the
                                                                             United States.

                                                                                                                  8
                                                                     IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19          PageID.53    Page 9 of 27




                                                                     ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                     to form a belief as the truth or accuracy of the allegations of this Paragraph, and

                                                                     therefore denies them.

                                                                     19.     As a result of Plaintiffs’ efforts, they have accumulated considerable
                                                                             goodwill in their distinctive and famous 5-HOUR ENERGY Trademarks.
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                     ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                     Paragraph.

                                                                     20.     As a result of continuous use, ubiquitous promotion, and extensive sales,
                                                                             Plaintiffs’ 5-HOUR ENERGY Trademarks enjoy substantial recognition,
                                                                             fame, and notoriety throughout the United States and are recognized by
                                                                             the general and consuming public as emanating from Plaintiffs.

                                                                     ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                     Paragraph.

                                                                     21.     Plaintiffs have consistently used their registered Trademarks in
                                                                             conjunction with the letter R enclosed by a circle and/or other indicia
                                                                             sufficient to provide notice of registration.

                                                                     ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                     to form a belief as the truth or accuracy of the allegations of this Paragraph, and

                                                                     therefore denies them.

                                                                     22.     Examples of Plaintiffs’ 5-HOUR ENERGY Products are shown below:




                                                                                                                  9
                                                                     IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.54    Page 10 of 27



                                                                      ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                      to form a belief as the truth or accuracy of the allegations of this Paragraph, and

                                                                      therefore denies them.

                                                                      B.      Defendant’s Products and Activities

                                                                      23.     Defendant markets, manufactures, distributes, offers for sale, sells,
                                                                              advertises, and promotes liquid energy shots and in commerce
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                              (“Defendant’s Products”).

                                                                      ANSWER: Admitted.

                                                                      24.     In connection with Defendant’s Products, Defendant uses words, terms,
                                                                              names, symbols, devices, and/or combinations, including 7 HOURS of
                                                                              ENERGY, that infringe upon and are confusingly similar to Plaintiffs’ 5-
                                                                              HOUR ENERGY Trademarks.

                                                                      ANSWER: Vitamin Energy, LLC has described its products as having “up to 7

                                                                      hour of energy” and “energy that lasts up to 7+ hours.” Vitamin Energy, LLC

                                                                      denies the remaining allegations contained in this Paragraph.

                                                                      25.     On information and belief, Defendant has also induced others to market,
                                                                              manufacture, distribute, offer for sale, sell, advertise, and promote liquid
                                                                              energy shots in commerce in connection with products and/or containers
                                                                              thereof that infringe upon and are confusingly similar to Plaintiffs’ 5-
                                                                              HOUR ENERGY Trademarks.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      26.     Defendant’s activities constitute false designation of origin, false or
                                                                              misleading description of fact, and/or false or misleading representations
                                                                              of fact.



                                                                                                                   10
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19        PageID.55    Page 11 of 27



                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      27.     In a number of cases, courts and juries have consistently found that
                                                                              similar marks infringed Plaintiffs’ Trademarks: (1) “6 HOUR ENERGY”
                                                                              and “up to 7 HOURS of ENERGY,” Innovation Ventures, LLC v. N2G
                                                                              Distrib., Case No. 08-CV-10983 (E.D. Mich.); and (2) “6 HOUR
                                                                              POWER”, Innovation Ventures, LLC v. N.V.E., Inc., Case No. 08-11867
                                                                              (E.D. Mich.).
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      28.     Examples of Defendant's infringing and misleading uses of confusingly
                                                                              similar marks are shown below:

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      29.     On information and belief, Defendant are aware of Plaintiffs’ 5-HOUR
                                                                              ENERGY Products and Trademarks.

                                                                      ANSWER: Vitamin Energy, LLC admits it is aware of energy-shot products

                                                                      that purport to provide users with five hours of energy. Vitamin Energy, LLC

                                                                      denies the remaining allegations contained in this Paragraph.

                                                                      30.     On information and belief, Defendant engaged in its infringing and
                                                                              misleading activities with actual knowledge and notice of Plaintiffs’ 5-
                                                                              HOUR ENERGY Trademarks with the willful intent to cause confusion,
                                                                              cause mistake, and to deceive the public, consumers, and businesses as to
                                                                              the affiliation, connection, or association between Defendant’s Products
                                                                              and Plaintiffs.




                                                                                                                   11
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.56    Page 12 of 27



                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      31.     Defendant does not have, and never had, consent, license, approval or
                                                                              other authorization to use Plaintiffs’ 5-HOUR ENERGY Trademarks in
                                                                              any manner.

                                                                      ANSWER: Vitamin Energy, LLC admits it is not using 5-HOUR ENERGY or
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                      any confusingly similar mark, and has not sought Plaintiffs’ consent, license,

                                                                      approval or authorization to do so.

                                                                      32.     Defendant also advertises its product with a series of misleading and
                                                                              false statements, including false and misleading comparative advertising
                                                                              and claims that Defendant’s products provide steroid-like athletic
                                                                              performance enhancement. Examples are shown below:

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                                                     IV.     CLAIMS FOR RELIEF

                                                                      A.      Count I: Trademark Infringement under 15 U.S.C. § 1114

                                                                      33.     Plaintiffs repeat and re-allege the allegations of paragraphs 1-32 as if fully
                                                                              set forth herein.

                                                                      ANSWER: Vitamin Energy, LLC repeats and re-alleges its answers to the

                                                                      preceding Paragraphs as if fully set forth herein.

                                                                      34.     Plaintiffs own and possess full legal right to enforce the 5-HOUR
                                                                              ENERGY trademark with U.S. Registration No. 4,004,225, which is
                                                                              valid, registered, and uncontestable [sic].




                                                                                                                   12
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19            PageID.57    Page 13 of 27



                                                                      ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                      to form a belief as the truth or accuracy of the allegations of this Paragraph, and

                                                                      therefore denies them.

                                                                      35.     Defendant’s infringing activities, including those described herein,
                                                                              constitute willful infringement of Plaintiffs’ exclusive rights in the 5-
                                                                              HOUR ENERGY trademark with U.S. Registration No. 4,004,225 in
                                                                              violation of federal trademark laws, including 15 U.S.C. § 1114.
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      36.     As willfully intended, Defendant's use of copies, reproductions, and
                                                                              colorable imitations of the 5-HOUR ENERGY trademark with U.S.
                                                                              Registration No. 4,004,225 is likely to cause, has caused, and continues
                                                                              to cause confusion, mistake, and deception concerning the source,
                                                                              sponsorship, or approval of Defendant's goods and services.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      37.     Defendant's infringing activities will continue unless restrained and
                                                                              enjoined.

                                                                      ANSWER: Vitamin Energy, LLC denies its activities are infringing any rights

                                                                      Plaintiffs may have.

                                                                      38.     Defendant's infringing activities have directly and proximately caused and
                                                                              continue to cause irreparable and economic injury to Plaintiffs, including
                                                                              loss of good will, reputational harms, loss of business, loss of sales, loss
                                                                              of revenues, and loss of profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                                                                   13
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.58    Page 14 of 27



                                                                      39.     Plaintiffs are entitled to compensatory damages, including expectation
                                                                              and consequential, non-pecuniary damages, pecuniary damages,
                                                                              exemplary damages, aggravated damages, restitutionary damages,
                                                                              nominal damages, Defendant's profits, and Plaintiffs' lost profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      40.     Monetary damages and other remedies at law are insufficient to fully
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                              compensate Plaintiffs for their injuries, and Plaintiffs are entitled to
                                                                              equitable relief, including preliminary and permanent injunctive relief.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      41.     Plaintiffs are entitled to have all of Defendant’s infringing products and
                                                                              all related materials likely to cause confusion, mistake, and/or deception
                                                                              delivered up and destroyed.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      B.      Count II: False and Misleading Descriptions and Designations of
                                                                              Affiliation, Connection, Association, Source, Sponsorship, and
                                                                              Approval under 15 U.S.C. § 1125(a)(1)(A)

                                                                      42.     Plaintiffs repeat and re-allege the allegations of paragraphs 1-41 as if fully
                                                                              set forth herein.

                                                                      ANSWER: Vitamin Energy, LLC repeats and re-alleges its answers to the

                                                                      preceding Paragraphs as if fully set forth herein.

                                                                      43.     As willfully intended, Defendant’s false, misleading, confusing, and
                                                                              deceptive activities, including those described herein, constitute
                                                                              misleading descriptions that are likely to cause, have caused, and continue
                                                                              to cause confusion, mistake, and deception as to the affiliation connection,

                                                                                                                   14
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19            PageID.59    Page 15 of 27



                                                                              association, source, sponsorship, and approval of Defendant’s good or
                                                                              commercial activities.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      44.     Defendant's false, misleading, confusing, and deceptive activities will
                                                                              likely continue unless restrained and enjoined.
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                      ANSWER: Vitamin Energy, LLC denies its activities are false, misleading,

                                                                      confusing or deceptive.

                                                                      45.     Defendant’s false, misleading, confusing, and deceptive activities have
                                                                              directly and proximately caused and continue to cause irreparable and
                                                                              economic injury to Plaintiffs, including loss of good will, reputational
                                                                              harms, loss of business, loss of sales, loss of revenues, and loss of profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      46.     Plaintiffs are entitled to compensatory damages, including expectation
                                                                              and consequential, non-pecuniary damages, pecuniary damages,
                                                                              exemplary damages, aggravated damages, restitutionary damages,
                                                                              nominal damages, Defendant’s profits, and Plaintiffs’ lost profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      47.     Monetary damages and other remedies at law are insufficient to fully
                                                                              compensate Plaintiffs for their injuries, and Plaintiffs are entitled to
                                                                              equitable relief, including preliminary and permanent injunctive relief.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.


                                                                                                                   15
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.60     Page 16 of 27



                                                                      48.     Plaintiffs are entitled to have Defendant’s infringing products and all
                                                                              related false, misleading, confusing, and/or deceptive materials delivered
                                                                              up and destroyed.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      C.      Count III: False Advertising under 15 U.S.C. § 1125(a)(1)(B)
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                      49.     Plaintiffs repeat and re-allege the allegations of paragraphs 1-48 as if
                                                                              fully set forth herein.

                                                                      ANSWER: Vitamin Energy, LLC repeats and re-alleges its answers to the

                                                                      preceding Paragraphs as if fully set forth herein.

                                                                      50.     As willfully intended, Defendant’s false and misleading commercial
                                                                              advertising, including that which is described herein, misrepresents the
                                                                              nature, characteristics, and qualities of Defendant’s Products and
                                                                              commercial activities.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      51.     Defendant’s false and misleading commercial advertising will likely
                                                                              continue unless restrained and enjoined.

                                                                      ANSWER: Vitamin Energy, LLC denies its activities are false and misleading.

                                                                      52.     Defendant’s false and misleading commercial advertising have directly
                                                                              and proximately caused and continue to cause irreparable and economic
                                                                              injury to Plaintiffs, including loss of good will, reputational harms, loss of
                                                                              business, loss of sales, loss of revenues, and loss of profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.


                                                                                                                   16
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.61     Page 17 of 27



                                                                      53.     Plaintiffs are entitled to compensatory damages, including expectation
                                                                              and consequential, non-pecuniary damages, pecuniary damages,
                                                                              exemplary damages, aggravated damages, restitutionary damages,
                                                                              nominal damages, Defendant’s profits, and Plaintiffs’ lost profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      54.     Monetary damages and other remedies at law are insufficient to fully
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                              compensate Plaintiffs for their injuries, and Plaintiffs are entitled to
                                                                              equitable relief, including preliminary and permanent injunctive relief.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      55.     Plaintiffs are entitled to have Defendant’s false and misleading
                                                                              commercial advertising delivered up and destroyed.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      D.      Count IV: Common Law Trademark Infringement

                                                                      56.     Plaintiffs repeat and re-allege the allegations of paragraphs 1-55 as if fully
                                                                              set forth herein.

                                                                      ANSWER: Vitamin Energy, LLC repeats and re-alleges its answers to the

                                                                      preceding Paragraphs as if fully set forth herein.

                                                                      57.     Plaintiffs were the first to use their 5-HOUR ENERGY Trademarks on a
                                                                              2-ounce liquid shot product in commerce.




                                                                                                                   17
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19          PageID.62    Page 18 of 27



                                                                      ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                      to form a belief as to the truth or accuracy of the allegations of this Paragraph,

                                                                      and therefore denies them.

                                                                      58.     Plaintiffs have continuously used their Trademarks in commerce since
                                                                              their respective first uses.

                                                                      ANSWER: Vitamin Energy, LLC is without sufficient information with which
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                      to form a belief as to the truth or accuracy of the allegations of this Paragraph,

                                                                      and therefore denies them.

                                                                      59.     As a result of continuous and notorious use, Plaintiffs’ Trademarks have
                                                                              become widely known and recognized by the public mind as a source
                                                                              identifier of Plaintiffs’ products, have acquired immense good will, and
                                                                              are strongly associated with a reputation for quality and performance.

                                                                      ANSWER: Vitamin Energy, LLC is without sufficient information with which

                                                                      to form a belief as to the truth or accuracy of the allegations of this Paragraph,

                                                                      and therefore denies them.

                                                                      60.     As willfully intended, Defendant’s use of copies, reproductions, and
                                                                              colorable imitations of the 5-HOUR ENERGY Trademarks are likely to
                                                                              cause, have caused, and continue to cause confusion, mistake, and
                                                                              deception concerning the source, sponsorship, and approval of
                                                                              Defendant’s products and services.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      61.     Defendant’s infringing activities will likely continue unless restrained and
                                                                              enjoined.



                                                                                                                   18
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.63    Page 19 of 27



                                                                      ANSWER: Vitamin Energy, LLC denies its activities are infringing any rights

                                                                      Plaintiffs may have.

                                                                      62.     Defendant’s infringing activities have directly and proximately caused
                                                                              and continue to cause irreparable and economic injury to Plaintiffs,
                                                                              including loss of good will, reputational harms, loss of business, loss of
                                                                              sales, loss of revenues, and loss of profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                      Paragraph.

                                                                      63.     Plaintiffs are entitled to compensatory damages, including expectation
                                                                              and consequential, non-pecuniary damages, pecuniary damages,
                                                                              exemplary damages, aggravated damages, restitutionary damages,
                                                                              nominal damages, Defendant’s profits, and Plaintiffs’ lost profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      64.     Monetary damages and other remedies at law are insufficient to fully
                                                                              compensate Plaintiffs for their injuries, and Plaintiffs are entitled to
                                                                              equitable relief, including preliminary and permanent injunctive relief.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      65.     Plaintiffs are entitled to have Defendant’s infringing products and all
                                                                              related materials likely to cause confusion, mistake, and/or deception
                                                                              delivered up and destroyed.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      E.      Count V: Indirect Trademark Infringement


                                                                                                                   19
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.64    Page 20 of 27



                                                                      66.     Plaintiffs repeat and re-allege the allegations of paragraphs 1-65 as if fully
                                                                              set forth herein.

                                                                      ANSWER: Vitamin Energy, LLC repeats and re-alleges its answers to the

                                                                      preceding Paragraphs as if fully set forth herein.

                                                                      67.     Defendant has induced others to use, contributed to others’ use of, and
                                                                              directed others under Defendant’s control to use words, terms, names,
                                                                              symbols, devices, and/or combinations thereof in connection with goods
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                              and containers for goods in commerce that are likely to cause, have
                                                                              caused, and continue to cause confusion, mistake, and deception as to the
                                                                              affiliation, connection, association, source, sponsorship, and approval of
                                                                              Defendant’s goods and commercial activities.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      68.     As willfully intended, Defendant’s actions sufficiently and necessarily
                                                                              caused and continuing to cause others to directly infringe Plaintiffs' 5-
                                                                              HOUR ENERGY Trademarks.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      69.     Defendant's indirect infringement is likely to continue unless restrained
                                                                              and enjoined.

                                                                      ANSWER: Vitamin Energy, LLC denies it is indirectly infringing and rights

                                                                      Plaintiffs may have.

                                                                      70.     Defendant’s indirect infringement has directly and proximately caused
                                                                              and continues to cause irreparable injury and economic injury to
                                                                              Plaintiffs, including loss of good will, reputational harms, loss of
                                                                              business, loss of sales, loss of revenues, and loss of profits.



                                                                                                                   20
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.65    Page 21 of 27



                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      71.     Plaintiffs are entitled to compensatory damages, including expectation
                                                                              and consequential, non-pecuniary damages, pecuniary damages,
                                                                              exemplary damages, aggravated damages, restitutionary damages,
                                                                              nominal damages, Defendant's profits, and Plaintiffs' lost profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                      Paragraph.

                                                                      72.     Monetary damages and other remedies at law are insufficient to fully
                                                                              compensate Plaintiffs for their injuries, and Plaintiffs are entitled to
                                                                              equitable relief, including preliminary and permanent injunctive relief.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      73.     Plaintiffs are entitled to have Defendant’s infringing products and all
                                                                              related materials likely to cause confusion, mistake, and/or deception
                                                                              delivered up and destroyed.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      F.      Count VI: Dilution under 15 U.S.C. § 1125(c)

                                                                      74.     Plaintiffs repeat and re-allege the allegations of paragraphs 1-73 as if fully
                                                                              set forth herein.

                                                                      ANSWER: Vitamin Energy, LLC repeats and re-alleges its answers to the

                                                                      preceding Paragraphs as if fully set forth herein.

                                                                      75.     As willfully intended, Defendant’s activities are likely to dilute, have
                                                                              diluted, and continue to dilute Plaintiffs’ 5-HOUR ENERGY Trademarks

                                                                                                                   21
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.66    Page 22 of 27



                                                                              by ‘blurring’, as Defendant's activities are likely to cause, have caused,
                                                                              and continue to cause an association arising from the similarity between
                                                                              Defendant’s Products and marks with Plaintiffs’ 5-HOUR ENERGY
                                                                              Products and Trademarks, which impairs the 5-HOUR ENERGY
                                                                              Trademarks’ distinctiveness and notoriety.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                      76.     As willfully intended, Defendant’s activities are likely to dilute, have
                                                                              diluted, and continue to dilute Plaintiffs’ 5-HOUR ENERGY Trademarks
                                                                              by “tamishment”, as Defendant activities are likely to cause, have caused,
                                                                              and are causing an association between Defendant’s Products and
                                                                              Plaintiffs’ 5-HOUR ENERGY Trademarks, which harms and tarnishes
                                                                              the 5-HOUR ENERGY Trademarks, including the 5-HOUR ENERGY
                                                                              trademark with U.S. Registration No. 4,004,225.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      77.     Defendant’s dilutive activities will likely continue unless restrained
                                                                              and enjoined.

                                                                      ANSWER: Vitamin Energy, LLC denies its activities are dilutive.

                                                                      78.     Defendant’s dilutive activities directly and proximately caused and
                                                                              continue to cause irreparable and economic injury to Plaintiffs, including
                                                                              loss of good will, reputational harms, loss of business, loss of sales, loss
                                                                              of revenues, and loss of profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      79.     Plaintiffs are entitled to compensatory damages, including expectation
                                                                              and consequential, non-pecuniary damages, pecuniary damages,
                                                                              exemplary damages, aggravated damages, restitutionary damages,
                                                                              nominal damages, Defendant's profits, and Plaintiffs' lost profits.

                                                                                                                   22
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19           PageID.67    Page 23 of 27



                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      80.     Monetary damages and other remedies at law are insufficient to fully
                                                                              compensate Plaintiffs for their injuries, and Plaintiffs are entitled to
                                                                              equitable relief, including preliminary and permanent injunctive relief.
                                                                              Nevertheless, Plaintiff is entitled to an injunction under 15 U.S.C. §
                                                                              1125(c)(5).
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      81.     Plaintiffs are entitled to have Defendant’s infringing products and all
                                                                              related materials likely to cause confusion, mistake, and/or deception
                                                                              delivered up and destroyed.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      G.      Count VII: Unfair Competition under MCL § 445.903

                                                                      82.     Plaintiffs repeat and re-allege the allegations of paragraphs 1-81 as if
                                                                              fully set forth herein.

                                                                      ANSWER: Vitamin Energy, LLC repeats and re-alleges its answers to the

                                                                      preceding Paragraphs as if fully set forth herein.

                                                                      83.     As willfully intended, Defendant has engaged in unfair, unconscionable,
                                                                              and deceptive acts and practices, including those described herein, in the
                                                                              conduct of trade and commerce that have a probability of confusion and
                                                                              misunderstanding as to the source, sponsorship, approval, and
                                                                              certification of Defendant’s Products.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.
                                                                                                                   23
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19            PageID.68    Page 24 of 27



                                                                      84.     Defendant's unfair, unconscionable, and deceptive acts will continue
                                                                              unless restrained and enjoined.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      85.     Plaintiffs are entitled to compensatory damages, including expectation
                                                                              and consequential, non-pecuniary damages, pecuniary damages,
                                                                              exemplary damages, aggravated damages, restitutionary damages,
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                              nominal damages, Defendant’s profits, and Plaintiffs’ lost profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      86.     Defendant’s unfair, unconscionable, and deceptive acts have directly and
                                                                              proximately caused and continue to cause irreparable injury and
                                                                              economic injury to Plaintiffs, including loss of good will, reputational
                                                                              harms, loss of business, loss of sales, loss of revenues, and loss of profits.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                      87.     Monetary damages and/or other remedies at law are insufficient to fully
                                                                              compensate Plaintiffs for their injuries, and Plaintiffs are entitled to
                                                                              equitable relief, including preliminary and permanent injunctive relief.

                                                                      ANSWER: Vitamin Energy, LLC denies the allegations contained in this

                                                                      Paragraph.

                                                                                                     AFFIRMATIVE DEFENSES

                                                                              1.      Plaintiffs have failed to state a claim on which relief can be

                                                                      granted.



                                                                                                                   24
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19            PageID.69     Page 25 of 27



                                                                              2.      Plaintiffs’ alleged mark is descriptive and inherently weak, and as

                                                                      such, is not enforceable as a trademark.

                                                                              3.      Plaintiffs’ claims are barred in whole or in part by laches.

                                                                              4.      Plaintiffs’ claims are barred in whole or in part by equitable

                                                                      estoppel.
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                              5.      Plaintiffs’ claims are barred in whole or in part because Plaintiffs

                                                                      come before the court with unclean hands including, but not limited to, having

                                                                      engaged in trademark misuse.

                                                                              6.      Plaintiffs’ claims are barred in whole or in part because

                                                                      Defendant’s use of “up to 7 hour of energy” and “energy that lasts up to 7+

                                                                      hours” constitutes non-trademark usage.

                                                                              7.      Plaintiffs’ claims are barred in whole or in part because

                                                                      Defendant’s use of “up to 7 hour of energy” and “energy that lasts up to 7+

                                                                      hours” are fair uses.

                                                                              8.      Defendant reserves the right to assert additional defenses that may

                                                                      become known during the course of these proceedings, up to and through the

                                                                      date of any trial.

                                                                                                         PRAYER FOR RELIEF

                                                                              1.      The Court enter judgment for Defendant Vitamin Energy, LLC and

                                                                      against Plaintiffs on all Counts;


                                                                                                                   25
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19               PageID.70   Page 26 of 27



                                                                              2.      Plaintiffs be required to pay Defendant Vitamin Energy, LLC its

                                                                      costs and reasonable attorney fees incurred in this action pursuant to applicable

                                                                      federal and state law; and


                                                                              3.      Defendant Vitamin Energy, LLC be awarded such other relief as

                                                                      the Court deems just and proper.
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                                                       JURY TRAIL DEMANDED

                                                                              Defendant Vitamin Energy, LLC respectfully demands a trial by jury on all

                                                                      claims and issues so triable.



                                                                      DATED: October 7, 2019                            BUTZEL LONG PC



                                                                                                                   By: /s/ George T. Schooff
                                                                                                                       George T. Schooff (P45596)
                                                                                                                       150 West Jefferson, Suite 100
                                                                                                                       Detroit, Michigan 48226
                                                                                                                       schooff@butzel.com
                                                                                                                       Telephone: (313) 225-7000
                                                                                                                       Attorney for Defendant




                                                                                                                      26
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
                                                                    Case 2:19-cv-11716-DPH-MKM ECF No. 11 filed 10/07/19                   PageID.71   Page 27 of 27




                                                                                                     CERTIFICATE OF SERVICE

                                                                              I hereby certify that on October 7, 2019, my assistant electronically filed

                                                                      the foregoing paper with the Clerk of the Court using the ECF system, which

                                                                      will send notification of such filing to all parties and counsel of record.

                                                                                                                   BUTZEL LONG PC
BUTZEL LONG, A PROFESSIONAL CORPORATION, ATTORNEYS AND COUNSELORS




                                                                                                                   /s/ George T. Schooff
                                                                                                                   George T. Schooff (P45596)

                                                                                                                   Counsel for Defendant




                                                                                                                       27
                                                                      IDETROIT\000150658\0001\1994744.v1-10/7/19
